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If you have any questions completing this form, please contact Angela Jacobs at (202) 366-0076. Please complete all
applicable information and attach this request via email to angela.jacobs@dot.govor via U.S. mail to:

                                             Tolling and Pricing Team,
                                          Federal Highway Administration
                                     Office of Operations, Attn: Angela Jacobs,
                                    1200 New Jersey Avenue, SE, Room E-86 204,
                                               Washington, DC, 20590

                                Please copy your respective FHWA State Division Office



A) What is the requesting agency, authority, or public company? What is the lead office within the
    requesting agency, authority, or private company?
Name(s): New York State through the New York State Department of Transportation (NYSDOT), the
Triborough Bridge and Tunnel Authority (TBTA), an affiliate of the Metropolitan Transportation Authority
(MTA), and the New York City Department of Transportation (NYC DOT).

Project Website (if applicable) or Your Agency/Company Website:
https://www.dot.ny.gov
https://new.mta.info/
https://www1.nyc.gov/dot


B) Contact Information
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C) What is the requesting agency seeking? (Please mark appropriate box)
   Federal Tolling Authority ONLY for this project or study (no funds requested).

Please briefly elaborate: New York State, through NYSDOT, TBTA and NYC DOT, is seeking federal
approval under the Value Pricing Pilot Program (VPPP) to initiate a variable tolling program within the
Manhattan Central Business District (CBD), generally defined as the area of Manhattan south and inclusive of
60th Street. The purpose of this variable price tolling program is to reduce the high level of traffic congestion in
the CBD. The applicants believe that a variable toll to access the CBD, combined with an investment of the

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resultant revenues in improving public transit alternatives, will maximize the congestion reduction in the CBD
and the surrounding area.

D) Please provide a brief description of the project/corridor seeking tolling authority. Please identify and
  describe the subject facility or general area where a toll is to be applied (i.e. name of project/study,
  location, length, level of service, problem to be addressed, etc.

1). Project History:
The New York City metropolitan region is a vital part of the national economy, accounting for nearly 10% of
U.S. gross domestic product. At the center of this region is New York City, home to 8.6 million residents and
4.4 million jobs. Since 2010, the City has undergone tremendous growth and added 440,000 residents,
equivalent to the population of Miami, and 700,000 jobs, equivalent to total employment in Philadelphia. New
York City is also now the most visited city in the United States, with an estimated 65 million visitors in 2018.
Within New York City, the most economically important area is the Manhattan CBD (the area south of and
inclusive of 60th Street). This area of just nine square miles boasts over two million jobs, 450 million square feet
of office space, and 600,000 residents. See Attachment A for a description of the Manhattan CBD.

However, the continued economic vibrancy of the City and region is threatened by rising traffic congestion.
With robust growth have come additional demands on the C                                       , with an increasing
number of cars, buses, delivery trucks, taxis and for-hire vehicles competing for scarce roadway capacity.
Congestion in New York City ranks fourth worst among cities in the United States (Global Traffic Scorecard,
INRYX, 2018), with the average auto commuter spending an additional 133 hours on the road each year due to
traffic. As shown in Attachment B, traffic speeds in Manhattan south of 60 th Street have steadily fallen: from 9.1
miles per hour (mph) in 2010 to 7 mph in 2018, a decline of 23%.

Traffic congestion adversely affects the economy and quality of life in New York City and the metropolitan
region. Low travel speeds and unreliable travel times increase auto commute times and erode worker
productivity; reduce bus service quality and depress ridership; raise the cost of deliveries and the overall cost of
business; increase vehicle emissions; and degrade the quality of life for residents, visitors, and workers.
According to a 2018 analysis by the Partnership for New York City, a business group, congestion in the New
York City region will cost business, commuters, and residents $100 billion over the next five years (PFNYC,
2018).

In terms of air pollution, growing congestion threatens to undermine recent improvements in air quality in New
York City and the region. High levels of fine particulate matter (PM2.5), nitrogen dioxide, and nitric oxide
pollutants that exacerbate heart and respiratory disease continue to be observed in areas of high traffic. The
problem is particularly acute in the Manhattan CBD, which a New York City Department of Health and Mental
Hygiene (DOHMH) air quality study found has among the highest concentrations of PM2.5 in the city.
DOHMH estimates that PM2.5 contributes to more than 2,000 deaths and almost 6,000 emergency room visits
and hospitalizations for cardiovascular and respiratory disease each year in the five boroughs.

One of the strategies to reduce the level of congestion experienced in the CBD is sustained investment in public
transportation alternatives. More than 75 percent of trips into the Manhattan CBD are made by bus, subway,
commuter rail or ferry. Due to the age and extent of the bus and subway system, service quality has declined
markedly since 2010. Improving reliability and performance of the bus and subway system is essential to
retaining existing riders, increasing ridership and reversing the growth of private car and for-hire vehicles trips,
which are putting further stress on the street network. Due to congested conditions, local bus service speeds in
Manhattan are, on average, 24% slower than citywide speeds. Reduction in traffic will result in faster more
reliable bus service, which will disproportionally benefit low-income residents.

Reducing congestion in the Manhattan CBD is essential to continued economic growth and to improved regional
air quality. In recognition of the scope of these challenges, the State of New York enacted legislation in April
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2019 creating the Central Business District Tolling Program (CBDTP). Under the program, TBTA, in
coordination with the NYS and NYC DOTs, will charge vehicles that enter or remain within in the CBD. Pricing
access to the CBD will reduce vehicle demand, relieving congestion and increasing the efficiency of the street
network. Revenue raised by the program will provide sustained funding for public transportation, which as it
becomes more reliable, will contribute to congestion relief. Please see Attachment C for the CBDTP legislation
and Attachment D for a program history.

2.) Area Description:
Vehicles would be charged a toll to enter or remain within the Manhattan CBD, defined in the legislation as
Manhattan south of and inclusive of sixtieth street, exclusive of the FDR Drive, New York State Route 9A
(known as the West Side Highway or West St.), the Battery Park Underpass, and any surface roadway portion of
the Hugh L. Carey Tunnel connecting to West Street. Please see Attachment E for a map of the CBD.

3.) Previous Studies/Current Studies
e.g.(Existing HOV, Managed Lanes/Feasibility, Environmental Impact Statement Project Studies)

In July 2007, the State of New York created the New York City Traffic Congestion Mitigation Commission to
consider proposals to reduce congestion in New York City, including a plan put forward by then Mayor Michael
Bloomberg to implement congestion pricing in Manhattan. The Commission analyzed and reviewed a number of
different strategies for reducing congestion and ultimately recommended a modified version of the Bloomberg
congestion pricing plan in January 2008. The proposal was not acted upon by the New York State Legislature.
https://www.dot.ny.gov/programs/repository/TCMC-Final-Report.pdf

In October 2017, New York Governor Andrew M. Cuomo created the Fix NYC Panel, bringing together
community representatives, government officials, and business leaders from across the region. The panel was

and identify sources of revenue to fix the subway system. The panel examined what congestion pricing could
look like for the Manhattan CBD; t                        8 final report can be found here:
https://www.hntb.com/HNTB/media/HNTBMediaLibrary/Home/Fix-NYC-Panel-Report.pdf

Building on the work of the Fix NYC Panel, the 2018 New York State Enacted Budget created the Metropolitan
Transportation Sustainability Advisory Workgroup. The workgroup examined actions that state and local
governments could take to deal with the multiple challenges confronting the transportation system in the New
York City region. The panel recommended that congestion pricing be adopted to reduce congestion and generate
new revenue to modernize                              December 2018 final report can be found here:
https://pfnyc.org/wp-content/uploads/2018/12/2018-12-Metropolitan-Transportation-Sustainability-Advisory-
Workgroup-Report.pdf

4.) Project Goals:
The goals of the CBD Tolling Program are to:

(1) Reduce traffic congestion
         - Key metrics: traffic volumes, speeds, and travel time reliability within the Manhattan CBD and on key
           routes connecting to the CBD.
(2) Improve air quality
         - Key metrics: air quality measurements at locations within and around the Manhattan CBD, with a
           focus on environmental justice communities.
(3) Create a sustainable funding source to repair and revitalize the MTA transit system
         - Key metric: generate revenues, net of VPPP operating costs, to support $15 billion in bonds for MTA
           capital transit repair and revitalization projects.
 (4) Increase transit ridership
         - Key metrics: bus, subway, and commuter rail ridership; modal shift from auto, particularly single
           occupant vehicles, to transit; quality of transit services.
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(5) Improve travel options for low-income residents
       - Key metrics: quality of transit services available to low-income residents; bus speeds and travel time
        reliability.

5.) Project Concept:
Vehicles entering the Manhattan CBD would be charged a toll, which would be collected via a cashless tolling
system. The legislation leaves open the possibility that trips that occur entirely within the zone could also be
charged a toll. It is envisioned that motorists could pay by app, online, by phone, by mail, or through a pre-paid
account-based system. The revenues generated by the program would be used to construct, operate and maintain
the CBD toll collection program and modernize the MTA transit system, with the goal of attracting new riders
and further reducing vehicle demand for scarce road capacity in and connecting to the Manhattan CBD.


E) Which type of facility is proposed to be tolled or studied?
  Interstate
  Non-Interstate
  Project contains both types of facilities
   Project is not specific to any type of facility
As explained above, vehicles would be charged to enter or remain within a specific area. This area does not
include an interstate facility.

F) Does the toll project involve ANY construction?
  No               Yes (if so, please mark all that apply)          Not applicable

  New construction                 Expansion                 Rehabilitation Reconstruction
  HOV to HOT Conversion             Other not listed.

Please briefly elaborate:
Limited construction to install tolling infrastructure and supporting utilities will be required. The tolling
equipment will, to the extent practicable, be mounted on existing infrastructure. Where this is not practicable,
new infrastructure or replacement infrastructure will be installed, likely in the form of street light poles, sign
gantries or similar structures that are already in use throughout the city. Power and communications will need to
be supplied to these locations if not already present. There may be some minor modification of street geometry
to enhance or maintain safe pedestrian, bicycle and vehicle movements. The TBTA and NYC DOT have entered
into a memorandum of understanding (MOU) for coordinating the planning, design, installation, construction
and maintenance of the CBD tolling infrastructure. Please see Attachment F for a copy of the MOU.


G) Does an HOV lane(s) currently exist on the facility?
  No               Yes             Not applicable

H) What is the timetable to enact the tolling or pricing project or study?
New York State desires to implement the tolling program in early 2021. A preliminary schedule is presented in
Attachment G.




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I) Are there expressions of support from public officials or the public? Have any public meetings been held?
                                                                                                 plans for
   ensuring adequate public involvement and seeking public support for the toll project or study.
Legislation approved by the New York State Senate and Assembly and signed by Governor Andrew M. Cuomo
went into effect in April 2019. The CBD Tolling Program was proposed by the Governor Cuomo and supported
by the Assembly Speaker Carl Heastie, Senate Majority Leader Andrea Stewart-Cousins, New York City Mayor
Bill de Blasio and a majority of the New York State Assembly and Senate. In addition, the FixOurTransit
coalition, a group representing over 100 business, labor, environmental, transportation and justice organizations,
supported the CBD Tolling Program. Please see Attachment H for a list of coalition members and supportive
stakeholder statements.

TBTA with NYC DOT will develop a robust public engagement process as the program moves forward.
Working with elected officials, community boards, interest groups in town hall and other settings, the agencies
will solicit feedback on all phases of the program. Additionally, the federal environmental review process will
provide opportunities for public involvement.


J) Where known (and if applicable), what is plan for implementing tolls or prices and the strategies to vary
     toll rates or prices (i.e., the formulae for variable pricing)?
The authorizing legislation for the program put forth a general framework that will be refined over the next 18
months. The law mandates that passenger vehicles will be charged once daily to enter or remain in the zone, the
toll will be variable, and emergency vehicles and vehicles transporting disabled persons will be exempt from the
toll. Residents of the CBD with an adjusted gross income of under $60,000 will be eligible for a state tax credit
for any tolls paid. A new six-member board, called the Traffic Mobility Review Board (TMRB), will
recommend specific toll rates and policies, and will consider variable toll options, additional exemptions, and
credits for tolls paid on other facilities for adoption by the TBTA Board.

The authorizing legislation also requires TBTA and NYC DOT to conduct a traffic study that the TMRB will
use to inform its recommendations. The traffic study will examine a range of toll rates, variable tolling
structures, exemptions, and toll credits. The study will be separate from, but consistent with, the traffic analysis
required for the federal environmental review for the program (which will also assess other areas of impact).

Preliminary work is underway for the traffic study and the environmental review. Both efforts will rely upon the
most advanced modeling and data analysis tools available, including the Best Practice Model (BPM), the
regional transportation model developed by New York Metropolitan Transportation Council (the regional
metropolitan planning organization).

In order to develop a range of variable tolling structures, rates and policy scenarios
consideration, the traffic study will examine:

          - Effects on general traffic volumes, speeds and travel time reliability within and outside the
            Manhattan CBD
          - Effects on driver behavior, including route, mode and time of travel
          - Effects on bus speeds and travel time reliability within and outside the Manhattan CBD
          - Effects on transit ridership within and to/from the Manhattan CBD
          - Effects on vehicle emissions and air quality within and outside the Manhattan CBD
          - Effects on low-income drivers to the Manhattan CBD
          - Revenue generation
          - Other relevant factors

The TMRB will make its recommendations to the TBTA Board between November 15 and December 31, 2020,
per the authorizing statute. Informed by the TMRB recommendations, the TBTA Board will follow the
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prescribed statutory process for determining the toll structure, which includes a public hearing and a vote on the
rates. The environmental review, which is expected to be complete before the TMRB makes its
recommendations, will include traffic analysis based on a range of potential rates and variable tolling structures.

Beginning one year after the CBD tolling program is implemented and every two years thereafter for the life of
the program, TBTA, in consultation with the NYC DOT, will undertake a comprehensive evaluation of the
effects of the program and produce an evaluation report that looks at congestion, air quality, transit ridership and
other factors. In addition, NYC DOT will undertake a study of effects of the program on parking activity and
demand in and around of the Manhattan CBD, which is due 18 months after the system begins operation.


K) What is the reason(s) of the toll project or study? Please mark all that apply.
  Financing construction
   Reducing congestion
   Improving air quality
   Other not listed.

ADDRESS ALL AREAS
Please briefly elaborate:

Reducing Congestion
As detailed in Section D, worsening congestion in and around the Manhattan CBD is increasing commute times,
degrading bus service, contributing to vehicle emissions, eroding quality of life, and raising the cost of business.
By reducing congestion, the CBD tolling program would reverse these trends by improving the efficiency of the
transportation network, including improving bus speeds, and supporting the continued economic growth of the
city and region.

Improving Air Quality
As detailed in Section D, emissions from the transportation sector are a major contributor to air pollution in New
York City and the region, particularly in the congested Manhattan CBD. These emissions exacerbate
cardiovascular and respiratory illness and are a public health concern. By reducing traffic volumes and
congestion and associated emissions, the CBD tolling program would improve air quality and overall public
health.

Create a Sustainable Capital Funding Source for Transit
The MTA subway system is over one hundred years old and needs to be fundamentally modernized to serve the

systems. By creating a new sustainable revenue source, the CBD tolling program would enable the MTA to
invest in improving its transportation network, which in turn, would
transit ridership and improving transit services for low-income residents.

Increasing Transit Ridership
As detailed in Section D, bus and subway service quality in New York City has fallen. As a result, some transit
riders have switched to private cars or for-hire vehicle services, putting added strain on the street network. By
funding the modernization of the transit network, the CBD tolling program would improve transit services and
attract commuters back to the system, helping to further ease demand on surface streets and thus reduce
congestion in the CBD.

Improving Transit Services for Low-Income Residents
Ninety-eight percent of low-income workers with jobs in the Manhattan CBD do not commute by private
vehicle (Community Service Society, 2017). Dedicating program revenues to transit improvements will
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disproportionately benefit low-income New Yorkers, who overwhelmingly rely on transit to access employment,
education, and essential services. By enabling investments in transit, the CBD tolling program would improve
transit options for low-income New Yorkers.


L) Please provide a description of the public and/or private agency that will be responsible for operation,
   maintenance, and/or enforcement for the toll project or study?


1) NYSDOT coordinates and develops comprehensive transportation policy for New York State; coordinates
and assists in the development and operation of transportation facilities and services for highways, railroads,
mass transit systems, ports, waterways and aviation facilities; and, formulates and keeps current a long-range,
comprehensive statewide master plan for the balanced development of public and private commuter and general
transportation facilities.

2) TBTA is authorized by the program legislation to establish, plan, design, construct, install, operate and
maintain the Central Business District Tolling Program in consultation with NYC DOT.

TBTA is among the largest toll agencies in the world. In 2018 TBTA served more than 322 million customers
and collected nearly $2.0 billion in toll revenue on its seven bridges and two tunnels within New York City: the
Bronx-Whitestone, Cross Bay Veterans Memorial, Marine Parkway-Gil Hodges Memorial, Throgs Neck,
Robert F. Kennedy and Verrazzano-Narrows Bridges and the Hugh L. Carey and Queens-Midtown Tunnels.
                                                                                                  build the
Triborough Bridge. TBTA is a New York State public benefit corporation, currently governed by Article 3, Title
3 of the New York Public Authorities Law, §550 et seq.

TBTA was designed to generate surplus toll revenue, which has been used to supp
transportation network since TBTA became an MTA affiliate in 1968. In 2018, TBTA provided nearly $1.1
billion in total support for transit. TBTA is also dedicated to maintaining its seven bridges and two tunnels in a
state of good repair and to                                                                       -2019 Capital
Program, which totals nearly $3 billion, gives high priority to key rehabilitation projects. In 2017 TBTA
enhanced the customer experience by converting all of its facilities to open road, Cashless Tolling.

3) NYC DOT, which owns and operates the roadway network within and outside of the CBD charging zone,
will support and assist TBTA. NYC DOT's mission is to provide for the safe, efficient, and environmentally
responsible movement of people and goods in the City of New York and to maintain and enhance the
transportation infrastructure crucial to the economic vitality and quality of life of our primary customers, city
residents. Over 5,000 employees of NYC DOT oversee one of the most complex urban transportation networks
in the world. NYC                                                                                 -year $10.1 billion
capital program, along with 6,000 miles of streets and highways, 12,000 miles of sidewalk, and 794 bridges and
tunnels, including the iconic East River bridges. NYC
street signs, 12,700 signalized intersections, over 315,000 street lights, and over 200 million linear feet of
markings.



M) Please provide a description of how, if at all, any private entities are involved in the up-front costs, or will
share in project responsibilities, debt retirement, or revenues?
No private entities are involved.



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N) Please provide any additional information you feel is necessary.

Below is further information on New York Best Practice Model (BPM), which will be used for both the
environmental review and the traffic study for the TMRB:

The applicants will use the New York Metropolitan Transportation Council (NYMTC) Best Practice Model
(BPM) to assess the potential impact of the tolling program on travel patterns throughout the city and region.
The BP                                                             metropolitan planning organization (MPO), is
an activity-based transportation model that incorporates transportation behavior and relationships with an
extensive set of data that includes a major travel survey of households in the region, land-use inventories,
socioeconomic data, traffic and transit counts, and travel times. The applicants will use a base year 2017 BPM
calibrated to the toll program, which includes a taxi trip table updated to include for hire vehicles (FHV) trips in
New York City in addition to yellow and green taxi trips. The BPM will be used to model several different
pricing scenarios and will produce the following metrics: (1) comparison of river crossing volumes by time
period (AM, MD, PM, NT, 24 hours), (2) district level vehicle-miles travelled and vehicle hours travelled
measures (AM, MD, PM, NT, 24 hours), and district-to-district flow and mode shares (auto, transit, and FHV)
for 2021 and 2040 (or another future year). The analysis will include regional routes into Manhattan including
trans-Hudson crossings. Districts can be defined at the county and traffic analysis zone level of analysis. New
York City districts will include all five boroughs and four to five sub-regions within the Manhattan CBD that
will be defined at the start of the program.




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